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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

  TERRY EDMONSON, et al.,                    )
                                             )
         Plaintiffs,                         )        Civil No. 6:16-cv-00181-GFVT-HAI
                                             )
  V.                                         )                     ORDER
                                             )
  AMTRUST NORTH AMERICA, et al.,             )
                                             )
         Defendants.                         )
                                             )
                                             )

                                      *** *** *** ***

        The Plaintiff and Defendant have filed an Agreed Order of Dismissal with the Court. [R.

 26.] Accordingly, it is hereby ORDERED as follows:

        The claims against all Defendants are DISMISSED WITH PREJUDICE as settled,

 with parties to pay their own costs and fees and all pre-trial and trial dates are CANCELLED.

        This the 4th day of October, 2017.
